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                                  #:7600




                               EXHIBIT 1
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 2 of 58 Page ID
                                  #:7601




 CONFIDENTIAL - FILED UNDER SEAL
 PURSUANT TO PROTECTIVE ORDER
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 3 of 58 Page ID
                                  #:7602




                            EXHIBIT 2
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 4 of 58 Page ID
                                  #:7603




     \:ri*i L. Alger,.Esq.
     I)uiun I.'manwiU&tul      Oliver & Hedges, 'I&P
     ti65 Sxth Filperbsr Street, 10th ~ k r
     1.0s Aggete$ California 90017




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Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 5 of 58 Page ID
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    Friday, Auma 17,2007

    'TTz:                                           F A X NUMBER                   TELEPKlNt N U W
    ' I i o l h y L.Aiger, Esq.   -                 (213) 443-3100                 (213) 443-3060
    Q l I M 4 EMANUOL URWAART OLIVER
    5: HW&S,     UP

    bfiichrrel H.Pa$e, Bsq.      -                  (415) 397-7188                 (415) 391-5400
    liCKKeR & VAN WST L W

    J.am& W.Spt?nu$ Eq.                             (310) 826-4711                 (3 10) 826-4700
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                           EXHIBIT 3
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 7 of 58 Page ID
                                  #:7606




   VIA FACSIMILE AM)U.S. MAIL

   Chris D. Nguyen, Esq.
                                                                                                            I
   O'Meheny &Myers, LLP
   400 South.Hope Street.
   Los Angdles, California 9007 1


   Re:     MatteL hc. v. MGA Ehtertahinent Inc.

   Dear Mr. Nguyen:
                                                                                                            I

          I write in response to your letter of August 7,2007. In that letter, you reques                       that
   Mattel return documents that yau claim are protected by the attorney-client privilege                        it MGA
   inadvertenlly produced. Those do~umentsbear Bates Numbers MGA 0800973 - 081                                  74 and
   MGA 0829296 - 0829305.

         Pursuant 'to Section 13 of the Slipulated Protective Order,I 'wrtify that we ha                        destroyed
          d paper.andeteehoniccopies of these documents that were poviaed to us.
   my p ~ all




   Cc: Timothy L. Alger, Esq.
         Diana M. T o m , Esq.
         Patricia L.Glaser, Esq.
         Michael Page, Esq.




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Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 8 of 58 Page ID
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Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 9 of 58 Page ID
                                  #:7608




                           UNITED STATESPATENTAPPLICATION

                                        For

                  DOLLWITHAESTHETICCHANGEABLE
                                            FOOTGEAR



                                                    Inventqr.   Isaac




       Atfomey Mattdr No. 15904-142




                                                                        MGA 0825485
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 10 of 58 Page ID
                                  #:7609




                       DOLLWITH AESTHETIC CHANGEABLEFOOTGEAR

        FIELDOF THE INVEQTION
        [OOOI] This inverttiin dates to dolls or t6y figures with changeable footgear.

        BACKGROUNDOF THE INVENTION
        [OO02] It has previously been pmposed to make ddls with shoes. boots or fo           ear
        which may bechanged, and patents which relate to such arrangementsincluc             1e
        follodng:
        I00031 L. Schrnetzer          U.S. Pat. No, 187.322      Granted February 13.1       7
                    G.Doebritih       U.S; Pat. No. 831.3.30     Granted September 18        106
                    F. SUiff          US. Pat No. 898.01:8       Granted September 8,        18
                -  P.H. Young         U.S. P a t No. 2,175;78Q   Granted October i 0 , l Z
                   G.H. Calverley U.S. Pat. No.2,662.335         Granted December 15,        53
                   S.F. Speerset-ill. U.S. P a t NO.3,478,042    Granted October 28.1 !
                   H.J. §olson et al. U.S. F a t No. 3,624,960   Gmnted Oesember 7,          t
                 .,Giidfarb ef al.    U.S. Pat, N.o.3;382,027    Granted January I.19;
                -   Port              U.S. Pat. No. 4;030;240    Granted June 21,1977
                                                                 Granted January 30, l!
                    Lambert           U.S. Pat No. 4.137.1'5
                    Rahmstorf         U.S. Pat. No. 4,185,472    Gtanted January 29. I !
                -. Keiji              US. Pat No. 4.645.691      Granted February 37,        7
                 .-'Schiavoet al.     US. Pat No. 4;728,75.1     Granted March 8, 198E
                    Fogarlyet at.     U.S. Pat No. 1.186.673     Granted February 16.1       3
                    Larson            US. Pat. No. 5,588.895     Granted December 31,        96
                    Kulchyski         US. Pat No. 5,803,787      Granted September 8,        )8
                    Toft              US. Pat No. 6,179,685      Granted ~anuary30,21
                    AsmusSeh et al. U.S. Paf No. 6,203,393       Granted March 20,20C

        [OOM]       In reviewing these patents, theappearance of the resultant ddls orfi     es is
         relaiiveiy 'y'%tunkym
                             and not aeslhetic@lypleasing.



         ['0005] In acmrd$nw with the present 1.nv.entlona more aesthetitally pleasir        ~nd
         elegant dollwflh changeable footgear, indudes open workshoeSwHh expose              ortions
        of the feet matthlng fhe color arid texture of the,exposedlegs: and straps oft       shoes.
        extend around thelower legs at the separation point wheta the removable foc          108
         assemblies mate wW thelOwer leg. With this wnfiguration, the straps of the          )es
         conceal the joint between the'leg and thefaoVshb8 assembly, resulUng in a.n         2

         realistic and .elegant doll construction.
                                                      -1-

                                      EXHIBIT                PAGE 55                         MGA 0825486
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 11 of 58 Page ID
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        [OD061 Addkional features which may beirrcluded wuld involve the use
        shoesand shoe straps Mich contrast sharply with the exposed skin
                                                                                      I
                                                                           Matter No,. 1 906142




        and snapin mechanical.arrangemeritsforassembling theshoelfkt
        legs of the doll.

        [OOOT) Mher obiects, feehues and advantages will bacome.apparent from a
        consideration of the following.detailed dewipttort, and from the
        drawings:




                                                                                      i
        BRIEFDESCRIPTION OF THE DRAWINGS
        [00081 Fig. Ishows a doll providedwith changeable shoes or footgear, Ulust tirlg fhe
        principles,of 1he.inVenlion;

        [OD091 Fig. 2 is an enlarged crus5-secijonalview taken along the. plane lndic
        2 of Fig. 1: and

        (OOlO]    Figs. 3 - 5 illustratealternativeshoes or Yml/s.hoe assemblies shown
        on one leg ofthe do!l of Fig. I.



        [OD'll]   While the specification describes partlcuiar embodiments bf the
        inVenfioh, those of ordinary skill can devise variations of the present
        departing, from the lnventlve concepts.




                                                                                      1
        [OD121 ~eferring
                       mreparticularly lo the drawings; Fig. 1 s h m a do1112 fo         ed of
        known materials employed for dolls, such as resilient plastic material. Thedoll 12has
        lower legs 14,16 and foot and shoe assembries 18.20 for mounting on the Id, er legs
        14, 16, respeCtiVely.
                                                                                            -
         [00t3] Fig. 2 is an enlarged cross-sectional view taken in the plane indicatedkt 2 2
        in Fig. 1.




                                                                                         i
         [0014] In order to removably secure the shoe and foot assemblies 18,20 to       e legs
         14, 16. the leg 14 has an enlarged protuberance 22 which snaps into a recess 4 1ri the
         assembly 18; and similarly, as s h w n in Fig. 2, the leg 16 has an enlarged pro hemnce
        26 which locks Into a recess 28 in the shoe and feat assembly 20.
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                                  #:7611




        (00151 It is desirablethat theseparation points 30 and 32be concealed or rn
        d i e a b l e , to provMe a mere realiik appearanEe. This is accomplished by p
                                                                                        I
                                                                           Matter No. 1 04-142




        the shoes with the appearance of a strap34 on assembly 18, and s h p 36 on
        20. WRh the upper edge of the. simulated 5-p     enlargements
        separation points 30,32,the separation points are not conspicuous.
                                                                                         I
        p
        D01
          q    This effed is enhanced by the exposed skin arms 42 on assembly                id 44
        on assembly 20. Further, thacolw and texhlre of the lower iegs 14.16 are su          antially
        the same as the mlor and texture bf the exposed feet areas 42 and 44.

        f l O l 7 l Figs. 3.4 and 5 illustratetypical alternethe shoe styles which may be t iployed
        with the doll 12 oiFig. 1. Thus, a shoelfoot assembly may be selected of a toll to
        match the wlor ofa dress to be wwn by the d d l or may be selected for specia
        activities such as beach wear orformat occasions.

        [0018] In Fig. 3 the leg 52, separation point.54, and upper strap 56 on thefao ;hoe
        assembly 58, are shown. In adation, the skln area 60 of the fooffshoeassemt SB is
        substantially the wme as that sf the leg.52.

        [O019] Fig.4 shows another alWrnatWeshoelfoot canfiguration 64 mounted o the leg
        66 at separation point68. As in the arrange.ments,dFigs. I - 3, the simulated trap 70
        mnceals the ~eparatbhpoint 68, and B e skin area 72 of the fo.01matches thal         N!
                                                                                             the
        lower leg 66.
        [OD201 Fig. 5 is a similar showlng of a stioMfoot assembly 7.6 mounted on the )wer leg
        78.of the doll ai separation point 80. The slrnulatedstrap 82 sbrves tommouf ge the
        separatlori point in Fig. 5 the.shoe is show darlened to emphasize that diffe nt
        cdored.shoes may be employed, .and that It is desirable that b e shoe wlor w mst
        sharply wlth the skin color for      e f f e d i i mncealment or camoufl~glngof 1:
         separation palnt. For specific examples, the shoe.wlors may be blue, green, I 1, blaek
         nr.some combinationthereof.

         pOZi] Return tc, Fig. 2 of the drawings, ilmay be noted that theprotuberanc~ 26 has
         a: larger cross-sectioflal wnhguraiion than the mouth 27 of the qpening 28. Ar ~rdingb,
         with both the doll iegs 16,IB and the footlshoe assemblies 18 and 20' being al asilient




                                          EXHIBIT 4 PAGE=                                    MGA 0825488
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                                                                          Matter No. 1 304-142

        material, the protuberance 26 may be snapped through the mouth 27 of the d rning 28.
        and thereafter the shoelfoot assemblies are firmly held anto the legs 14. 16 ol ie ddl.

        [0022] In the foregoing da'falled descripffon, speciflcernbodiments~ofthe inw~ tio on
        have bsen dascribsd. However. it is to be understwdthat various changes a f
        modifications may bemade without departing frdm the spirit and scope .of the vention.
        Thus, by way of example and not of lirnit$lon instead of having the protubem e 26 on
        the leg 16:and the retesS.28 on the shodfoot assemblies, this configuration r    ly be

        reversed, with the-protuheranC&onthe shodfmt aserribiy, and the recess oi :be doll
        leg& Further, instead of a single prQtUbemnce.and mating rece65. other srlai agether
        mngementsmay be employed,uslng more than pne protuberancelrecess,.~a snap
        in ring and matingring shaped re-      wuld be used. It is also noted that, ins ad of
        using resilient pfasficfor the doll, stlffer pfasticdould be employed. and the fo~ 'shoe
        assemblies may be attached using adrnple .conmaled mechanical latch. ACI rdingly.
        the invention is not limiled to the exect embodiments described hereinabove 7 d shown
        in the drawings.




                                                                                          MGA 0825489
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 14 of 58 Page ID
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                                                                          Maitsr No.?!

       WE C~AIM:

                1. A doll with changeable footgear comprising:
                      ato.ffio having-a body and legs, said legs havlng a predetermined in
        color and texture;

                      a pair of footlshoe~assernblles.each including an open *tie with   aps,
        with the shqe beingopen to expose at.le3st part of the foot, the f o ~havlng
                                                                               t     sul antially
        the same predeterminedskin cdor and texture;

                     each said assembly being m v a b l . e secured to one of sald legs the
        lower leg or anMe of said doll at a separation point;
                      each said assembly and lower legs having a snaptogetherjoinl r      Ia

        protuberance' on one pad and a mating.re&& on        ~ other part; and
                      a sirnuliRed stmp farming part of said shoe 8xtending around sail
        assembly at said separation pint.
                 2.   A doll as defined in claim 1wherein the.shoe portionof the fooUsl   3

        assembly is colored to contrast sharply with the exposed skin aceas of the fw

                  3. A doll with changeable footgear as defined in claim I further indt I g a
        plurality of different sets of shop of different,stylesfor selectively mounting or aid
        legs.
                 4.   A ddl C defined in daim 1 wherein said doll and said footlshoe .i emblies
        are formed L$ resilient plastic material.

                 5.   A doll .with changeable footgearcomprising:

                      a torso having a body and legs, said legs having a predeterminec >lot;

                     a pal'r of fodshoe assembiles. each including.an open shoe with raps,
        with the shoe heing open to expose at least part of h e foot, the'foot having si ibntially
        thesarne predekrmlned w!or;

                      .each said assembly being removable secured to one of said leg$ :the.
         lower leg or ankle of sald doll at a separation point;




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                                                                           Matter No. 15

                   each said asSemMy and h e r l e g s having a joint for rdeasably SE
       the.fooVshoe.assembl'ks to the iegs; and
                     a simulated strap forming part of said shbe e%tending.amund said
       assembly at sgld separation point.
                6. A doll 3s definedin daim 5 wherein the shoe portioWof the fooflst
       assembly is colored to conlrastsh&         wRh the.exposed skhareas of the fdot

                7.   A doll wlth'changeablefootgearas defined in cl&n 5 furthei inch
       plurality of different sets of shaes of different styles for seledively mounting on lid
       legs.
                8.   A doll as aefined in ctairn 5 whereinsaid doll and said foofhhoe a    :rnblies
       are formed of resilien! plaslc material.

                9.   A doll with changeablefootgear comprising:

                     a torso having a body and legs, %$aidlegs having.a predelermined      110~

                  a pair of foot/shoe assemblies. each including an o w n shoe with aps,
       with theshoe being op8n 16.expose at !&st part of the foot, the foot having su iantially
        the same predetermined color;
                     each said assembly being removable secured b one of said legs         the
        lower leg or ankie of said doll at a separation point;
                     ;each said assemblyand lovvet legs having a snap-together jaint;      d.

                    a simulated strap farming part of said shoe extend& around saic
        a8semb)y at said sepawtion poinI.

                 10. A doll as defined in claim 9 wherein the.shoe porllon of thefwffs     D

        assembty'is colorad to contrast Sharply with the exposed skin areas of thefoo
                 11. A doll with changeable footgear as defined ih claim 9 further mclr    xg a
        plurality of differentsetsof shoes of different styles for seiectiveiy mounting or aid
        legs.
                12.A doll asdefined in claim 9 wherein said doll and said fooVshoe < ;ernbles
        are formed of resilient plasti~
                                      rnaferial.
                                                      6.


                                            EXHIBIT        4     PAGE [DO
                                                                                            MGA 0825491
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                                                                                         r
                                                                            Malter No. 1 904442

                 13: A doll with changeable lootgear comprislrig:

                      a torso having a body and legs:
                    a pair of fo0Vshoeassernblles. each including an open shoewith
        with the shoe betn~open lo expose at least part of the foot:

                      each said assembly being remavable secured to ons of eaid legs
        lower leg or ankle of said doll at a separation point:
                                                                                         I-
                      each sald assembly and lower legs having a joint for releasably
        the f ~ f f s h o sassemblies to'the.legs: and
                      a sYmulaterl strap fsrming pait of said shoe extending.arounda i d
        assembly at said separatlon point.
                 14. A doll 8s defined in cliirn 13 wherein the shqa~oortion
                                                                           of the foot/d
        assembly is colored to contrast sharply with the elqrosed skin areas nf the fod
                  15. A doll with changeable footgear as defined in claim f 3 further indl
        plurality of dlfferehl sets of shoes of different gwles for selectively mounting on
        legs.
                  1.6. A doll as'detine'd in claim 13 wherein sald doll and said fwtlshoe
        assemblies are formed of resilient plastic material.
                  17. A doll as defined in dYm 13 whereln said exposed parts of the f a
        substantially the samecobr as said legs.




                                                                                              MGA 0825492
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                                                                        Matter No.1

                             Doll With Aesthetic Changeable Footgear
       ABSTRACT  OF M E DISCLOSURE
              A doll wlth changeable fodgear includes a twso with legs, and a pair
       footlsho~assemblies rnountedon.the legs al separation poinis; and each fool      le
        assenibly has exposed skh of a color and texture substantially matching the !   of fhe
        legs, and the simulated shoes Rdude.shulated straps extending around the        fshshoe-
       assembly immediately adjacent theseparation point on each leg. Each f W s l
        assembly may be mounted on one of thedoll legs, employing a. prntutjerance      one
        part and a recess,on the other part, with a snapin M n g fit behveen the two    ts.
        The simulatd shoes may be of a sharply contrasting wlor relame to the skin      Dr.




                                                                                        MGA 0825493
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                          EXHIBIT L( .PAGE b3-
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                                        78




                                          FIG,




                             EXHIBIT         PAGE bq
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                                  #:7619




                            EXHIBIT 5
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 21 of 58 Page ID
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                    1m      Wl?Rml
       Alan C. Rose                                                            UlUlMW
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       Suilc 3800




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   310 Since this application 'is in condillon fpr allowance except.for form1 matters, prosecution as to ht
          dos,ed h inmrdance-wlU1b e - p r a m u n d e r Exparte Quayle, 1995 C.D. 14,453 0.6.213.
Ilspbsttion of Maims.
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         oa) dfthe above da'm(s)     -istarewithdraM.fromcanslderaUoni
   5 ) 0 Claim(s) ' i s l a r e allowed.
   6)H Giaim(6)~'lfdare rejected.
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  11)Clm e proposed drawing m i o n med on k a ) U approved b 1 0 disspp~ovt?dby* Esamin~
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Priority under 36 U.S.C.    55 119 and 120
   1 3 a Ackrowledgrnent is made of a claim forfor@gn prlorlty under 35. U.S.C. 5 11B(a)-(d)or (0.
       a ) a All b D .Some 'c)n None of:
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                                  #:7622




   Applkati~lCOrlfr~l
                   Numbel: 101373.602                                                   Pao
                                                                                          '1
   Art Unit: 3712

                                      DETAILED ACTION

                              Infarmation DisclosureStafement
          The listing of references in the specMcation is not a proper informationdlsclos

    statement 37 CFR 1.S8(b) requlres a Ikt af all patents.,publlmfions, or other

    information subrnittsd for consideration by the Office, and MPEP $609 A(1) States, "

    list may not be incorporated into the speciiicalion but must be sbbmltted in a separat

    paper.' Therefore, unless the references have been cited by the examiner on form

    PT0-892, they have not been considered.



                                            Drawings

           The ctrawings are objected to as failing to comply wltti 37 CFR 1.84(p)(4)

    because reference characters "54.56" in figure 3 and "68,7O" in figure 4 haveboth

    been used to designak the Wa. A proposed drawingcorreclipn or corrected
                                r

    drawings are required in reply to the w~ce.adionto avoid abanaonmentof the

    application. Theobjedion to the drawings will not be held in abeyance.



                                           Specification

           The disclosure 1s objected to because af the followiw lnfomalitles:

           in the Abstract, line 2, delete *foot shoe' and insert -foot/shoe-.

           Page 3, h e 3 of [OO18], delete 'feer and insert -skin-.
            Page 3, line 2 of [0021], dejete "opening? and insert -recess-.

            Page 3, )Ine 3 of [0021],.deletb 'IS, 18"and insert-14,16-,




                                       EXHIBIT 5 PAGE bq
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 24 of 58 Page ID
                                  #:7623




    ApplicaUonlConhjl Number: 1W373;602
    Art Unk 3712

           Page 4, line 4 of [0021], deletenopening"and insert-rbcess-.
           Appropr)ate.mrrectionIs required.



                                         Glaim Objeciions
           Clahs 1,2,5,8,9, 10,13, and 14 are objected to bemuse pf the.fdlowirrg

    informalfties:

           It is suggested that In;

           Claims 1,S; 94 and 13, lines 7,6,6, and 5, respectively. delete "removableN

    insert -removably-.

           Claims 2,6, 10, and 14,line2,clelete'assernbly is" and insert -assemblies
           Appropriate wnectlon is required.



                                                     -
                                 Claim Rejections 35 USC 5 112

            The following isa quotation of thesawnd patagraph qf 35 U.S.C. 112:
           The specifidon shall amclude wlh one ormq.5 ~ldmpa!ih[artj polnUng outand disnWtly
           t$i&g We suh@tCnanet which.- a@ksnt regads as hiaimnlirm.

            Claims 1-17 are rejected under 35 U.S.C. 112, second paragraph, as beins

     indefinite for failing to particularlypaint out and distinctly claim Be subject matter i

     applicant regards as the inventibn.



            Claims 1.5,s. and 13 recitethe limitations We:footw,"Uiesame", "the Iowc

     or anWe", "lower legs", End She other part" In llnea 4-10. respe~tively.There Is
     InSufficientantecedent basis for Ihew limita~onsin the.cl$ims.




                                       E%lBlT        5 PAGE CS%
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 25 of 58 Page ID
                                  #:7624




   Appilcatlon/Control Number: 10.!373,602
   Arf Unit: 3712

           Claims 2.6,10. and 14 recitethe limitations "the shoe portion", "the exposed :

    areasv,.and 'the fdor iTI lines 1 and 2. There is insuffkient antecedent basis farthes

   limitations in'ththedaims.



           Claim 17 recites the limitatlotis "said exposd pafls", "the feelu,$nd We sarnc

    lines 1 and 2. There is insufficient antecedent basis for these lhnitaiions in the h i m



           Clairn(s) 3,4,7,8. II,12,15, and 16 depend from rejeCted claim($) T, 5,9. a

    13, respecthrely, and includeallof the.iimlktions afdaiiiis) I.,
                                                                  5,9, arld 13 thereby

    rendering these dependentclaim(s) indefinite.

                                                              -
                                     Clahn Relections 35 USC § 102

           The'following is a quotation of the appropriate paragraphs of 35 U.S.C. 102 li

    form the:ba.sis for therejeclldns under this section made in this Office action:


           lb) tIhe inW!hn wlis parented or described in a printed pubbtbn in (hisor a forabnmunby of in
           use or on sale in this country, m c q than one yew p h r tn the dale of appllka6pn & pal'plin the Unib
           Stales.

           Claims 1-17 are ejected under35 U.S.C. 1M(b) as being dearly anticipated

    The BRA@        dolls reference: also see PTO-892 [U];

           Tha BRAT^^ dolls reference cledy discloses all of the sbuctural limitations

    rected in deims 1-17.

                                                               -
                                      CIalm Rejections 35 USC 3 703
            Tha following is a quotationof 36 U.S.C. t03(aj whlch f m s lhe basis for all

     obviousness re@tions set forth in this Offce .action:
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 26 of 58 Page ID
                                  #:7625




    ApplicationlControt Number. 101373.602
    Art Unit: 3712



                                                                h art lo which sald sub.led maaar perlain*
          inventlop wan madeto a Person hevlng ordinarysklll le t
          Palentabaily shall not benugathredby the ntannerinwhlQl the invmUonwas made.

          Claims 1-17 are rejected under 35'U.S.C. f03(a) as being unpalentable over

    US. Patent No. 4,952.189 to Barlaw in view of US. Patent No; 4,185,412 to Rahmt

          Barlow disclos6s the daimed invention except for theassemblies and lower le

    having.a snap-togetherjolnt However. Rahmstorf teaches a doll comprising the

    afowmntianed limitations (see flg 3). Therefore. it would have been obvipus to on5

    having ordinary Nilin the arl at the time the inventipn was madeto-modifythe doll c

    Badow, in view of Rahmstorf-suchthat it would provide the doll of Bartow w i h the

    aforementioned limltatlonsfor the purpose of provldlng an easler1simpIitled means fc

    attachment of the assemblies to the legs.




    &.
          Any inquiry conceraing this ~mmunlcationorearlier communications from th
    examher should be directed to All AbdelwahM whose telephone number is 703 31
    331 The examiner can nomially be reached Manday through Friday from 9.00 .1
     .OD P.M..
           Ifattempts to reach the examiner by telephone are unsuccsssful, the examin1
                                                                                               +
    supervisor. Dems Banks can be reached on (703) 308-1745.
           Any lnqulry of a general natureor relalingto the status of this application or
    proceeding should be directed to the receptionistwhose telephone number is 0031
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 27 of 58 Page ID
                                  #:7626




                                  EXHIBIT 6
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 28 of 58 Page ID
                                  #:7627




   Please find below andlor attached an Of& mmrnunicatian concernin[; &is application or p-edinl:
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 29 of 58 Page ID
                                  #:7628




                                                         1W373.6D2                     LARIRN, ISAAC
            Offlce Acfton Summary                       Examlner
                                                                                                       I




 ltUS

  1XX( Responsive to cwnmunicntbn(s)'tiled on 14 AususlZo03.
 ?a)@ lhls adion iz FINAL.               2b)D Thls adton fs non-flnal
  3 0 Since this appibtlon is h condition forallowdnce exrzpl lor formal matters, prosecullon as to tl
      dosed In accordance with the practice under Ex psrfe lea*, 1935 C.D. 11.453 O.G. 213.

  4.jE Clah(s) s7islarepending in the app#catlon.
         4a) Of Ihe above daim(s)   -Ware wiVldrawn from consideration.




 iorfty under35 U.S.C. 55 119 and t20
  1 3 ) 0 Ackiiiair~rneni'ismade of a claim lor foreign priorityunder 35 U,S,C. 9 719(a)-(d) or (0.
        a)ONl b)(7 SoriK. ' c)O None af:
          1 . n Cerliied copies olfie    p.ilorlly documentsheve been received.
          2,a -led         Copies ~f the p?iorify documents h a w beenreceEd in./\ppllcation
                                                                                           No.   -.
       3.a Copres 07 the cdfled copies d the priority dowments have bem recieived in this NatIoni
                 appliwlion flMl ihe InfemaUanalBureau (PCT Rule 17.Z(a)).
      See h e anached dekded Ofnceaction b a HsI of tl?3 ce.eRied mp&.s:hotreceived.
  1.40Adknob+ledgm~ntis made ola clalrn br.domes?icprioni   under 35 U.S.C.5 ll9le)(to.a pmvkion
         a) 0 The translation of Me loreign language~ ~ o v & i o n a l - a p ~hakbeen
                                                                               i ~ l i w mwived.
  i s l D *nowlc+dgrnenl   lo made cf a clabn 1ordomegtlcprWly under 3.5 U.S.C;.5fr 120 andlor 121.
 cachrn~l{s)
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 30 of 58 Page ID
                                  #:7629




    Applimtion/Control Number: f0/373,602              '                                             P
    Art Unit 3712

                                             DETAILED ACTION
                                              Clalm Objectians

              Claims 2,6,10.14, and 17 are objected to because of the following Inlone

              It is suggested that in:
              Claims 2 and 6, fine I,
                                    delete'assembles' and insert-assernblles-.

              Claim 6, line 3, delete 'assembly is' and insert -assemblies a r e .

              Claims 10. 14, and $7, line 2, delete'assembles' and insert-assemblies-.

              Appropriate correction is required.



                                                            -
                                     Claim Rejecfions 35 USC 5 712

              The following is a qrlotahn of the second ppmgraphof 35 U.S.C. 142:
              The specMQGon shall conclude vim one w more da.uw particularly pointing oui and d~stinclfy
              daiNog the sub)ect man6which the a p p b m l mga& as his invention.

              Claims 1-17 are rejected under 35 U.S.C. 112. secand paragraph, as bein$

     indeflnlte for falling to particularly point out.and distinctly claim the subject matter 1

     applicant regards as.the inverrtlon.



                      5. Q, and 13 recitefhe limitation "said leg"in llne 3; There is inslr
              Claims I.                                                                                    ient

     antecedent basis for this limitation in the claim.



              Claim 17 recites the limitawns "sald exposed p.artsn.'the feet'. 6nd "the sz                 !


     color" in lines 1 and 2. There k IlisuRcienlantecedent basis for these limI@tlons                     he
     claim.




                                                                                                           MGA 0825440
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 31 of 58 Page ID
                                  #:7630




    AppkationlControl Number: 101373.602                                                                F
    Art Unit: 3712

          Claim(s) 2-4,64 10-12, and 14-17 depend from rejected claim(s) 1,5,9, a

    13, respectively, and indude all of the limitations of claim(s) 1.5.9, a d 13 thereb~

    rendering these dependent ciaim(s) indefinite.



                                                          -
                                   Claim Rejections 35 USC 5 102

           The following is a quotati~nof the appmpriate paragraphs of35 USC. 102

    f0.mthe basis for the rejections under this sectiin made In this Office action:
           4person shall beentitl' ibapakni unless -
           (b) fieiwenUon\*as.pat~ledor.&~bedin a prhW pubUcaliininthlsora forelgn munhya p         h
           ube sran sale h lhb munw,magthan ~ne.yearpiarbIhB da!e d app7ralion1.01 p.atenf in the Un
           States.

           Clrjims' 1-17are rejected under 35 U.S.C.'lOZ(b) as being clearly anticipatt

                    ~ reference;also see PTO-892 [U].
    the B R A T Z ~dolls

           The B W \ T Z ~&lls reference clearly di.Scloses all of the structural (irnitatiol

    recited in Claims 1-17.



                                                           -
                                    Clarh Rejections 35 USC 5 103

           The following is a quotation of 35 U.S.C. lQ3(a)which forms the basis for i

     obvbusness rejections set forth h this OMce action:
           (a) A patent may not be oWned though the inwnlkn h not IdenUcally disclosed or described
           fwlh in s e c b 1~M d this 6Ue, ifthe dlkrences behem t h e s u b k l mtler sodghl to be pale
           Urn prlor art are such that me SUbjed matter as a whole w w M have been cbvious a1fie h e I
           invWtion was mads to a parson having ordlnary &I in (he ar( la which mid subject m a w pe,
           Pabnbbll~lyshall no1be negatived by the m n u Inwhich he lnveonm%as made.

           Claims 1-17 are rejected under 35 U.S.C. 103(a) as being unpatentable0)
     U.S.Patmt No. 4,952,189tGBadow in view of U.S. Patent No..4.185,412to Rah




                                                                                                            MGA 0825441
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 32 of 58 Page ID
                                  #:7631




    ApplicatiMlfControl Number: 101373,602                                             F
    Art Unit: 3712

           Badow discloses fhe claimed invention except for the assemblies and lower

     having a snaptogether joinl However, Rahmstorf tea~hesa dtitl.compriiingthe

     aforementioned limitations (see fg. 3). Therefo~,it would have been obvious to'c

     having ordinary skill in the art at the ti.m the invention was made to mod@ the do1

     Barlow, i n view of Rahmslorf, such that il would providethe .dollof Barlow with the

     aforementlanedIim.Mins for the purpose of providingan easladsimplfied means

     attachment of U w assemblies to fhe legs.



                                     Response to Arguments

            Applicamt's argumentsfled on August'l4.2003 have been fully conSidered

     hey are not persuasive.



            Inresponseto Applicant'sargumeni concerning the ~ R t i l dolls
                                                                      Z ~ referen

     having a later date than what is recited on page 1of the reference p.acket. Exami

     would like to focus Applicant's attention to page 10 of the reference packet, unde~
     heading Spotlight ReviewS" are some reviews sent in by customers whobought 1

     dolls rnentloned on page Iofthe packetandspedflcally referenced the toy dolk I

     their names which match 'me names of the dolls on page 1of the packet. As shcr

     these r e v i m were sent in on December of 200'1, inherently the dolls must have I

     Dn the market before this date, whiihalso aids in justtifying the launch date of the

     in June of 2001 by MGA Enfertainrnent.as.menUonedw, pege 1 ofthe reference




                                                                                            MGA 0825442
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 33 of 58 Page ID
                                  #:7632




     packet Both of the dates mentioned above are sufficient to rejectthe clairns'unde~
                                                                  .
     USC 102(b), therefore examiner masswts h e rejection.


            In response to Applicant's argument cohcerling the35 USC 103(a) rejectiol

     based upon Bailow in view of Rahmstorf. Examiner would like l o point out that the

     Barlow referen* doesin fact disdoseopen.work, stiap type shoes, the shoeffeet

     assemblies being removable at the upper strap line of theshoes, andthe fool skin

     coloring. matching the lower leg coloring-below and abdve €hesepa'mtion point Tt

     strapscan best be seen in figures 1,2, and 7, figure 7 best Hluslrates the ~hoeffee

     assemblies being removable at the upper strap line of the shoes, and Ule foot skin
     colorlng matching the lower ieg cdloring below and above the separation point is

     inherently iinplied by figures 1,,2,7, and the respective portionsof the specir%atiol

     Examiner therefye ceasserts the rejmUon.



                                               Conclusion
            THIS ACTlON IS MADE FINAL. Applicant is remjnded of the extension of

     policy as set forth in 37 CFR 1.l36(a).

             A shortened statutory period for reply lo thii fmal action is set to expire THl

     MONTHS fmm the mailing date of thin action. In the event a first reply is filed witt
     TWO MONTHS of the mailing date of this fmal action and the advisory action is nl

      mailed untii after the end of the THREE-MONTH shortened statqtory period, h e n

      shortened statutory period will expire on the date the advisory action is rnalled, an




                                                                                               MGA 0.825443
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 34 of 58 Page ID
                                  #:7633




    ApplicationlControl Number. 101373,602
    Art Unit: 3712

    exiension fee. pursuant to 37 CFR 1.136(a) will be calculated from the mailing date.

    the advisory action. In no event however, will the.s@tutoryperiod for reply expire I

     Ulan SIX MOMHS from the mailing date of this final actbn.

            Any inquiry concerning this wmmunicatbn or earlier communicatiorp fmm t
     examiner should be dieded 'bAli AWelwa.hd whose telephone number is (703) :
     3311. The examiner can normallybe reached Monday thrwgh Friday f m 9:00 A
     5:00 P.M.
            Ifattempts to reach the examinerby telephone are unsuccessiul, the exam11
     supervisor, Derrls Banks can be reached on (703) 308-1745.
            Any inquily of a geneml natureor dating to the status of this application-or
     proceeding should be diieected lo the receptionistwhose telephone numberls (703:
     1148.




                                                                                           MGA 0825444
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 35 of 58 Page ID
                                  #:7634




                                                                 MGA 0825445
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 36 of 58 Page ID
                                  #:7635




                                EXHIBIT 7
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 37 of 58 Page ID
                                  #:7636


 Rug 1 1 03..05:OE'p          Carter                                       4177257S36




               I NON-FEE WMENT
         M ~$top
         Commissioner €ororPnreols
         P.O. Box 1450
         Alpandxk VA 22313-1450


                                    5ECLARATION OF CARTERBRY-

                1, CARTER BRYMfT, henby dsolm'asfollows:
                 1.   I am ihc pfc%idanof'CarttrB ~ MEauprises
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         N.ixa. MO.65714; arld I have b q in Ihc hc6eelaace design field fbr about Fight @), yw~n
                2.     I am familiar with b e Brat2 doU pwjoclo or MGA hrPtaiamcn: and I
         worked with Isaac L&    preridmlof MGA EnIa?aimnenton Ihc Bra= doll pjccr
                3.      1 ap~Gndliaz d t h ihc doll d'kigns n6 6hQw in Li~e              dmv&gr fror
         &we-identified palat applhtlon. 'I%        dolls
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                                                            have
         on featurc'.al abdul thc wklc of lht dollsso l h a t : d i m u t ioolgear may bc.+llatcd on $x
         Regardip the zvap type shoes, aci disclosed in the patent application, Uiewhriqg of rhc
         tohC gn the exposed -of      Lht feel arc matched to h e coloring of the lower legs of the doll




                                                                                                       01 ON 3llj


                                                                                                           MGA 0825457
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 38 of 58 Page ID
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 A U ~I I. 03 0.5:oap         Carcer          4177257536             P.2




        S a i d No. D9164.7.752




                                                                 1   nlj

                                                                 IGA 0825458
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 39 of 58 Page ID
                                  #:7638




                              FIG, 2
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 40 of 58 Page ID
                                  #:7639




                                                                 AGA 0825460
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 41 of 58 Page ID
                                  #:7640




                                   EXHIBIT 8
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 42 of 58 Page ID
                                  #:7641




       October 29,2007

       BYHAND

       Thomas J. Nolan, Esq.
       Skadden, A p , Slate, Meagher %.Flom LLP
       300 South Grand Avenue, Suite 3400
       Los Angeles, CA 90071



       Re:    Mattel, lnc. adv. MGA Entertainmenl. el d.


       D m Tom:
       1 am writing in co~ectionwith various dkcoVery matters.

       Further to our earlier wmmunicati~ns,we set forlh in this lelter a more compreb ~ i v elist of
       outstanding discovery which the Coutt has ordered MGA to pmduce and/or hich MGA
                                        t l y Mattel. We me enclosing relevant bkgmuoc naterials as
       previously agreed it c ~ ~ ~ e nowes
       they relate to these issues in an effmi to facilitate heir resolution. It is our hope ere that the
       pruties can avoid or at least minimize motian practice on these maBers to the extent .is posgible
       to do so. We also %I foah in this letter a list of prior meet and confer requests Ihal k t e l mde
       but that MGA did not respond ta as requid by the Discovety Master Stipulation. We hope tg
       address these matters as soon as possible. Last, we include haem additional matter dating to a
       key &&I 30(b)C6) Topic that require MGA's attention.
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 43 of 58 Page ID
                                  #:7642




   'Todate. .MGA has not .piouidwl dates fbr a number of depositions, includina dwrrsitio Judge
   Infante has ordered. lnhis May 16.2Q07 Order, ~ u d ~ . l & movcrmled
                                                                te       ~IIMGAobje ions to
   the Topics in Mattel's Second && 30(b)(6) Notice aud ordered MGA to produce witt ~Seson
                                                                                    Larson
                                                                                     Judge
                                                                                    yet 27,


              c 16.18.20 and 32in MaWs Secpnd RiiIe.NlbW3Noticc to MGA. MC+At ifailed
   ' T o ~ iNos.
    to imvid6 my datei &n .$C~&'ii&esi.& .\hiill '$e avail&te.&I .&dress these topics MGA
    originally purported to designate prior writ@' t&j&ny to adn-          these topics: but its
    designations were woefiilly ina,dcq~te.&r,MaDe]. requested a.@eet a d confer, MW w e e 4
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     on August IS., 2007, to pmvide dedigne~sa d &tk Tor Ulese top3cs. fiereafter, pe about
     October 3, 2007, MGA stated 'ihat .it.+ hi@.% bn'Wse toplk would be S&       Khan MGA
     stated thal Mr. Kh&. s&-available for depsiticg in .+her. M@el informed 13 rA that
     W h a delay in MY.Khare's depositions        unacoep.table, becaw%.&e deedline fir [OA to
                                                                    -
     provide a witnes+.in compliance yith the &covery Mask9s Order June 30,2007      --  ~dlong
     sirice. passed MGA Stated that it M d d check again to determine whe&er Mr. Khare 7 ~uldbe
    grcduced. on an earlier date. No eadier dates wee.e v e ptwided, ho.wever. Som of the
    pertinent background QocumenDIand commUoications regwding this matter are            hed a6
     Exhibit A to this letter.

   Tooic Nos. 2 1 , 2 4 3 . 2613'1, 39 lax to nan-electronicdocuments). 40 and.41 in Mattel'
   Rule 3O'(b)lt3 Notice to MGA. Pursaant fo Judge Infante.'~ May 16, 2007 &dm, \lii ch was
   . . . by. Judge Larsoq, MGA was required.to p m d ~ ede&@ees on the topiw .in dattei's
   u&?ld
   Secoad :d30&)(6) Notice no lata th& Jme 30, W M fexcqt ax tp Topics 25 ~d 26).
   Scpartttklj; MGA wis. requid to pr6dnce witnws on Topics 25 and 26 qo 11;a than
   September 27,2907.

   On July 19.2007,MOA d u d Lisa Tomu on TouicNos. 24.31.37.39 (ax tonons clronic
   dmm&s), 40 &d 41, but Ms. Tonnu was not suftio'ientllypp;lredre$ard& those tq s, save
   Topic No. 37. Aftaa meet and confer in advance of Matlel motion, NLOA agreed to mo de Ms.
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                                                          EXHIBIT       & PAGE- u
Case 2:04-cv-09049-DOC-RNB Document 1231-3 Filed 12/12/07 Page 44 of 58 Page ID
                                  #:7643




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   Ta~ics.Nos.Nos. 11. 13. 14. 23. '27 and '28 of Maitkl's Seiind Rule. 3ObXG Noti P. Qn
   September 6 ,2007, 'NaXrdsen!, MOA, -a rn* and confer letter regarding,.tbc fa lwe to
   deqbately d b t e FWeoca HBrii&.itridesigdee on Topic NO& 11,13,14,23,27 and.28, md the
   inadequate tinie t~ completeher d+ppsition on.@'i?f the many Topics slic was designafeil m. .on
   ~cLa.k~-3, .2W7,MG-Ainaicafsd..tbi?.M.,    'Harrisis .cwntly on medical teave and th MGA
   needs.fo che& on her condition before.advising .usof her availability. To date, Mattel uls not
   rec6ived any espouse regarding Ms. Harris's availabjlity. If slie is not available in the :oJning
   weeks, MGA must produce 8 differmtdesignee. O!h&$e, Mattel anticipates that it w .I b ~ g
   a motion on this subjecf:    .
   Topics 6-8. I I .and 12,of Matteh Thud Ru1e3b(b)(6) Notiee. Judge Infante ordkred i IGA to
   proiiidcdate-sand designees on these'topics on September 25,2007. On Ocl~beT2; 20Q: Mattel
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                                                                                         ing the
                                                                                         PJmd
                                                                                         :r.
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   P~v1ouslvscheduled individual dements. MGA nee& to provide new dates for the de
   of David Malacrida, w h o M been scheduled to give fuather deposition testimony on Oci
   2007 butwho was not produced as aresull of tbr:"sofl stay,"'




    Financial Wormation rcsuousivc to Mattel's Second Set of Rwuests for Production to M
    Qn June 6,2007, Mattel served its Second Set of Reipsts for Docllmeots and lhings
                                                                                               mages.
                                                                                               :, non-
                                                                                               mental
                                                                                               ries or
                                                                                               things,
    MGA. &e&&,            pprduce by sq&mbeli7, 2 3 7 a rep6"t                       provide in6 mation
    n5spon~ve:to.a'nuhberof the Muests, includitig,sales, rwenue, cost and profit inform ion for
    Bl;ra:pdu@sby SKU. On September 26,2007, we a              t an *inhi1 to Bill Chwon add na
    that wb'had'n~f,appkardta have *eivedthe report , a d rcqvting, if MGA had pmd ;edthe-.
    r e p a , that ii@mirovidcuswi&:&d Bates nunibers oi, 2 ' M b ~ h a dnot &ue$d ~e reprepor a me&
    and confer reg+g          its.fai1urq to have done so. 'CveUafter the expiration of the requi d fie-
    dayperiod within which .to meet and confer (and shortly before the change in coun 9, Mr.
    w - n finally atftised us thit the report had not been p m M and that he could n~ tell us
    when it wodd be praduwd. $me oT:he.pdnentb & k g r o ~ ddocuments and .kormiln Cations
    .*garding Ws matter are attachd as Efibit F to ttds letter.

    .Morethy one nim$aff~the           v                                      g rqW, we still w e no
                                             d upon @yd]'iefor p r a d ~ ~ hthe
    . m do f ~ M ~ g w 6 i v ietd If .&GA hasproduced this reprepoi  please so confirm and p~ vide us
    with the Bdes nunibem. Tf MCA still has notproduced thk report, then please let w kn v vrhee
    we oah exptct to weive i t From our peqxwtive, a d as Ikid mcntiqned during* cc krenik
    d l on October 142007;MCJA's pnidlrdlion of fi&bl documehts n@                to be spriori so.that
                                                                             ..
     there is no.linther delay in our ability to p q @ me r t repom.
    Man.of 'Bratt Roduots. To resdlve a then-peiiding.Mattel metion to compel, h ?A and
   .Bry&t.a&reed on the record before J"dgq Bl.wk on h e 20,'2@5 tbfthey would make mgible

                                                                                               0
                                                                                               ;ly
                                                                                               led for
                                                                                               30.
                                                                                               y June.
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                                  #:7645




                                                                                        s d l of
   MGA's refusals to ph       tangible items'relki~~
                                                  to Bratz so& by Mat[sl, ME& In ught a
   motion t~ compel, wiiich JudgeWaqtegrDew~.   There are numerous categories of tannib :items
                                                                                        culpts,
                                                                                        lior to
                                                                                        )type%
                                                                                        1) doU
                                                                                        s, doU
                                                                                        ractice
                                                                                        :items
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                                                                                                 f such
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                                                                                                 >duct's
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                                                                                                 iced in
                                                                                                 that in


   Maltel bas made repeated efforts to dbfain access to inspect &d photogrhph MGAqs Ingible
   items. :For example, on SeptembFr 13,2007, Mattel wmk to h4GA questing a date inspect
   and photogiaph all Bmtz .prbduq &orisivk to Request No.. 1 in Mattel's Second Set of
   Requests for Reduction of Documents, and p@.ucts. p&-;!ging and other physiu items
   rc&ponsivcto any of Mattd!s.other dlScu~eryrt+e'jts inohding Without limitaljon, ] o d u c ~
   and packaging identified by MGA iii its S"pp1@&l bSponse Lo Intedo6atory N r. 2 of
   Mattel's First Set'of.kiterragaton'e6.ReUnfaix Competitiorh datd:JW20,2007. MGA iid not
   mpond to Mattel's MU&. TliimafWr, on-September27! 2007, Mattel sent bfGA a n KA aud
   confer request regarding this matter. On O c t o k 5; 2007,MGA stated that it would

          '"makeqwilabIe.san!~b~fBk-@,~~p.?qcfs          @qqaat to Pequest Ne. 1 of Mattel!
          Second Set of Reque& f&'~iociuctionof &cuni&h) h d any additiond items 01
          which MGA intends.to xeIy for its. c!leims or defemes, iqeludig my doll heads
          sculpts, piatotup'eS, d p l e s aid rangible iteins that elate to imy fa& underlyial
          MGA'Saffinnat;ve &f&. in.& &on (RFP 100 of Mattel's First Set of FWs
          qd:any tangible iitenis onwhich MGA intends to.rely for itsnfhmtive claim
          (RFP No. 1 of Mttel'sFiist S&t of RW'sre Claims of Unfair ComWtion), on r
          rollj g basis."

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                                                                                                 reedto
                                                                                                 r Brab
                                                                                                 ~ngible
                                                                                                 aived a
                                                                                                 $a and
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                                  #:7646




                              -                                   -
    Mattcl also has requested and believes tbat it is entitled to access to the three di
    Bretz head that itr depicted in the &otog~aphmarkedas %%it 1118. We raised wi
                                                                                              lsional
                                                                                              ulGA1s
    oormsel prior & the substitution ~ u request
                                          r      that we be givenaccess to the head to d       the-
    dimmional digital scan of it for purpgses of this Litigation. We have not, however, rec   ed any
    wmmi!ment by MGA to allowMattel such access.
    M~ additionally needs to complete its produ~tion(for inspection) of &k conks        MGA
    p r o d m and athcr products and tangible items responsive to Request Numbers 1,2 1 16 of
    Maltel's first Set of Requests for Production to MGA re Claims of Unfair C o m ~ l In, and
    Rapst Nunbeis 9699 of Mattel'sFitst Set of Reqwsts for Production to MGA by 0 ba31,
    2007. Pleaselet us know whethex MGA will wmply with these obligations.
    M U ' S 2OO5 Privilem.LQ& MGA agreed to produce Ckrnents on MOAk privilegf                gfrom
    2W5, in redacted form snd to          a supplemeutaJ log. of'.documents by Octobe          2067.
    AfIet.twb extensions, most receatly to October 1.5, 2007, Matte1 has not ye^ recej        I these
    donunents. Some of the pertinent background docpents and commqnications reg               ng this
    mdterare.al@ched as Exhibit H to.& letter.

    Mattel's F i Set of Reuuests for Pmduction to MGA Re Claims of Unfair Co
    Pursuant to the stipulation enteted inta by the p d e s on Sepbmber 24, 200.7, MGA        recd to
    produce documW~tshresponse to RequcstNos, :I,3-10. 12, 13, 16-20,26,27,29,30,             40.43,
    45, 48-52. 60, 65419, 137-140. 157-161,164             166 to MmeSs Fist Set of Re        ats for
    Plpduction to MGA Re Claims of Unfair Competition by October 17,2007. MGA                 wit0
    produce thm dircunienfs on s rolling basis om a Week and to provide Mattel a date          whkh
    the entire unf& competition pmdwtion will be completed Matte1 has not yet receivcc        is date.
    Some of tbe jmtinent bk$ound documents ,imd wmmunications regding tfiis I                 term
    attached as E)rhibit I to tbis l h r .

    Metadata On August 21,2007, Mattel kquested that copies of certain e-mails in 11          native
    format, including all metadata and the full e-mail header information. On August,         , 2007.
    MGA responded that they are "r6wchiag the documetlts" and would get back to                 ARer
    seyeral meet and confers, MQA agreed to produce all of e - d I s listed in Mane13 1       r latter
    reguest in their native formal, with full email header infoymation, to the extent MOI     s such
    eplails in its possession, m d y or mnml by OctOber 1,2007. However, MGA did n            lroduce
    all the metadab Matte1 requested by October 1,2007. On October 3, 2007, MGA 5             luced a
    chart purporting to contain the &data MGA was able tp retrieve pursuant to M#td           equest.
    Not only wa.~the ohart no substitute for tho k&ormaJion Mattel sought, but it was incc    11eteon
    its face. Thereafter. on October 8.2007. MGA a& aPseed to omvide tbe emails m             Pted by
    Martel in their nadk format (ie.. el&&k). M ~ also    A a m e - b investigate the leal    of time
    required to do this and to let h h k l how. To date, Matte1 has nor rcpived this info     fion or
    the requested metadata Some of the pRtinent background documents and comm                 hations
    r c g d i thh mattm areattached w E x h i J to this letter.
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    Art Attacks v. MGA Trial Exhibits. The formerly sealed exhibifs in the Art Attack!
    case are alsd now long overdue. These documents were compelled by the Court in ic
    May 15,2007 and were ordered produced s o later than Jdy 31,2007. After MGA n
    deadline, MGA agfeed at a September 7,2007 meet and confer to produce those exh
    before September 12,2007. Thereafter,MGA claimed in a letter that it had aorually do
    i n d g s t i o n of MGA's produdion revealed, h~wever,that MGA did not do sr
    requested by letter dated October 12, 2007 tbat MGA produce the balance of the ag
    exhibits no later than October 19, 2W7. To duk, MGA has Mt produced those c
    responded to tbis request. Some of the pertlnenl backgmund docmmts aud comm
    regardingthis matter are artached as Exhibit K to tbiS letter.

    mi so ell mu^, Additionally, M6A promised to provide. Mattel We following docu
    document-rdatkd information which are now overdue: (1): the Bates niu&m of the 1
    pmvided to Speckio, (2) legible copies of MGA's 2001 finanoial statements: (3) an
    copy of Exlu'bit 660; (4) remaining Union Bank documents;aud (9)Dave MaImMr
    day planner, his e-mails and any other doouments relating to him ~esponsivet
    document requests prior ta his depositian. Sdme of the pertinent backgmMd d m
    comrhuui6ations regarding this marier are attached as Exhibit L to this lettar.

    As you can see, MGA;'s o'bligatioJi$as to &se documents are long overdue. Accordi:
    cannot.finnlyresolire these open items in tbe khort term, we intend tp seek the assisb
    CollrL

             C.              Responses
                  Su~~lernen'tal

    A w b e r pf supp1emenwJ responses to. d i s c o v q requests promised by MOA, N
    Kong and Lstian are long overdue as weL Fit, Mr. Larian,after numerog extemsic
    by Mattel, a@    to provide a further supplemental respoflse toRequest Nos. 32,33,
    66-69 in MsttellsFirst Set of Requests for Admisitons tb lsaac Larian by October 12,
    has mi done so.
    Second, a h a f t e r multiple extensions .agreedto by Mnt&l, MGA Hong Kong agreed
    supplemental responses to Mattpl's First Set of Fkpests for Produdion of Docu
    Things that tra& the suppleii~mtalresp0n.w prodded by MMOA to Mattel's Sea
    Requekts for Pmhctibn of Documents and Things on October 15,2007. Those resp
    ~ o t b e ed
               n v e d by M-1.

    Third, after multiple extensions panted by Mattel, MGA agreed at a meet and confer(
    5,2007 (con6nned in a Matte1 letter of      same date end in an Odober 11,2007 e
    Mr. Cbanon) to provide by October 15,2007 eaeh of the following: (1) ~upplementa
    to Request Nos. 35, 3 4 69-74, and 92-97 in Mattel's FiWI Set of ReqraeSts for A&
    MGA;(2) supplemental respooses to R-9          Nos. 1-28 in Mattel's F~arthSet of R
    Admissions to MGA; (3) supplemenfal responses to Requesl Nos. 141-163, 165-17(
     180 in -1's    Tbird Set of mu&       for Admissions to MGA; d ( 4 ) a slplplement
    to IntcrragatoryNo. 1 1 in Mattel's Socoml Set of Interrogatories that will identify the




                                                            EXHIBIT. % PAGE.
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    each responsive telephone number. None of thm.supplemental responreff have been ceived
    dapite the ~nultipreextension grmted by Mattel. Somelofthe patinent baJrground d~ nnents
    and communications regarding these matters are attached as Exhibit M tothis lettor.

    F i l y . the C o d s Otder Denying Motion for Tenninaiing Sanctions, dated August :        2007,
    required all parties to submit a declaration setting forth their preservation efforts am   olicies
    with respect lu fhe present UtiMon. Mattel submiad such deckidon on September              ,2007.
    To date. MGA Aong Kong,MGA de Mexico and lsrra~Larianpromised tbai they wod                ~rovide
    pre~en~a6on   declarations, but have not done so. Somc of the ptinent backgrod dl          nnents
    and communications regarding these maiters are attached as Exhibit N to this letter.

    MGA's obligations as to these matters, too, are long overdue. AcoordingIy, if we cam
    resolve these open items in the short term, we intend to seek the assistance of the Gout

    11.    Meet and Confer Realrests For Which MGA's T i e T o Redoond HasLavse

    Tbe fotlowing are signiscant uied and wafer requests for which MGAts time tc :spond
    pursuant ta Section 5 of the Discovery Master Stipulation has lapsed.

    As dlscusscd above, on October 5, 2007, Mattel slnt a MGAa meet and confer lelter :        w   g
    MGA's repeated W~ to provide a knowledgeable deponent on Topic Nos. 21, 24,2               31,39
    4d and 41 of Mattel's. S a n d && 3D@X6) Notice. MaW also sought to meet ru                cpnfer
    regarding Mattel's anticipated motions for MGAto be precluded f i m denying akess tc       e Diva
    Starz project, to enfow prior w,wt orders relating to Topic NO.26; md for sanctions @      m e of
    the defi.ciencies and violations during Lisa Tonnu deposition). MGA did ridt timely n      ond to
    Mattel's request to meet aud confkr oh'this foplc, ex6ept to say that we should contru     MGA's
    new counsel.

    On September 20, 2007, Mattel sent MGA a meet and confer request regarding pml 01s for
    2 . .starches, pursuant to Judge Infante's Septemba 12. 2007 Oder directing the ties to
    "fiuthermeet and wnfer to establish parameters for wndudhg a reawnable search of e Zeus
    system aod baokup tapes." 0n September 26,2m            , rrounsel Mam Feieste'i s ed that
                                                            MGAk
    he would send a letter regarding Zeus. To date, this letter has not b e w e i v d by Man

    Some of the peaineat background documents and communicationsregarding these m ers are
    attached as Exhibit 0 to Ulis letter.



    In addition, as of the time of the substitutionof wmsel, Matte1 had been in the process I puttins
    together meet and wnfer letters on other si@amt issues. 1will address one set of issi here,
    which should be cansidered a nquest to MGA pursuant to section 5 of the Discovery M er
    Stipulationto mezt and mnfer h advance of k h e l motions to compel &odd the padie ie
    unable to m l v e these mat&rs.




                                                              RHIBIT        %             Wl
                                                                                    PAGE. -
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    MGAfailed to designate a qualified individual to testify regarding Topic No. 33 ofMaU
    SmndNotice of Deposition of MGA, in violation of Judge Infante's Order compelling
    testimony on this Topic, and gave improperibstructions not to answer during tbs deposic
    ik designee Samir Khare. Inaddition. MGAackww1edged at Mr. Khareesdepositioneh
    w@d be necessary to provide him for adZlitional testbony because it was not yet conip
    (See Deposition Transcript of Samir Khare, dated August 20,2007, at 427:ll-13).

    MGA initially had designated Bryan Armstrong to m t i Q an Topic No. 33. To
    dditional testimony on haibstance of MOAk registratioasand applications, MGA
    Mr. Khare to testify on the Topic as wen. Nonetbeless, Mr. Khwestill did not
    fads asserted by MGA in these applications. For instance, Mr. Kbare did not
    basis MG.A and Isaac Larianrelied in representing to the U.S.Patent Office that Mr.
    the inventor of prsckaging for wbich MGA submitted a patent &Khare
    127:23. Sidlarlv. Mr. Khim did not lcnow on wbat basis MGA md Mr. Larian relied in
    rapnsentihg t h a t ~ rL. e a n was the invcntor of changeable footgear for which MGA
    8 patent application.       Khare Depo. TI. at 127:24133:25. .
    tu addition, M G A ' s ~ uimprope&
                                ~l        instructed Mr. W e not to w e 1
    underlying fadS, not attorneydent wmmiudcatioq to which Mattel is
    Khare Depo. Tr. at 72;18-23. 'Mr. Khare withheld information regarding
    person or persons who created BEik ihracter art cited in anMGA
    an colfisel's hsbxdjon.
    r e g d u g Aileen Storer's
    Please let us b o w when Mr. vlr.Ware is available to wntinue his depositiim, whether
    agree to withdraw the hpioper hkdiudons given during his deposition and
    either properly eduoate Mr. Khare on the substance of its applications and
    pmvide someone else who is propeily educated. Unless MGA agrees to
    inshuddnsand produce Mr. JChm for additional questioning, Maftel
    to enforce'Judge Infwte's Order, to compel and for ortions.

    MCrAUkewisu gave improper irstrudions not lg loanswerduringthe deposition of its
    designee onTopib 33, Bryen A m m n g , md improperly asserted privilege 'to
    documents bearing Bates numbers MGA 08255S0-0825682 and.MGA
    First,MCAts counsel inshuctd Mr. Armstrong not to answer questjons that clearly do t
    'wade the atlomey-client pridege. SeeDepositioh Traasoript:of Bryan Arinsh-ong, Vol 2,
    dated ~ugust1,2007, at Yk:z4-348:7,349&14,349:18-35i:6,440:h.w:1
                                                                                            t
    442:1843:8. The major& of these questions were high Iwel questions abort
    Mr. hnstrdng or MGA's intdectual propetty cbunsel collected factllal information for
    p q s e of comnnmicdng suchinformation ~othe U.S. Copyright Office or U.S.Patent
    Wemark Office. Qu&m about h h learned by counsel forthe purpose of co
    tlmn 'tp @ Cppyrigh!Office or USPM are not privileged In addition, MGAk w
    impmpedy instnrctedMr. Amitro~rmstrongnot to answer questions regading trademark
    tbe name #Jade." Any such i q d m w k search is not privileged and could show'
    &daed using the name "Jade" for a Braa charackr, Indeed, in o h meet
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    mpceded that m h searches themselves sre not privileged, let alone the timing of when ay are
    pMonned
    Second, MGA improperly asserted privilege on the basis of anomey work pmduct over            k4x
    wver sheet sad faxed drawings from Bobby Newquist to ALad~ose.To the extent MG
    mteuds tbat a dmummt prepared by its attorney p~ivileged,MGA must show %bat             tl
    document was prepared by m attorney for the purpose of advisii MGA imd that the dc           unent
    reveals MGA's wnfideniial wmmnaie~o11~.         Privilege w h e s "those pa w pregared        an
    attorneyor at an attorney's request for the purpase of advisiug aclient, provided the pal:   ,'are
    based on and wouldtend to reveal the client's wnfid~tialcommunications," but "does           k
           .
    extend . .beyond the substance of Uw client's weWential wmmunic.ati0119 to tbe attm          Y."
    Matter of FischeL 557 P.2d 209,211 (9th Cir. 1977). Here the docmerit in qu&n, 0             listing
    of draviintiings and a fax GOVR sheat, was prepad by a third party vendor f o r k purpose
    submitting the drawings to the U.S. Patent and Trademark Office. Thus.this d o m e m         not
    privileged.
    MGA also atiserted attorney-client privilege over a fex fium Bryan Annskgng to Alaii I se end
    the attached 8.imedtrademark auulication to the USPM. Tbe fak frsm Mr. Aniistiona not a
    c o m m ~ n i d to                                     -"
                      o ~COmsel for tl&tinmse ofobtainifln l e d dpioe. tutrather. sim&  over
    letter directing MGA'S attorney tohfiIe'thesigned application with the USPTO.. fie-& i
    tradem& apptidation is a communication to the USPTO and, therefore, obviously not 1 vileged
    Unless MGA agr& to withraw the iinpmpcr instructions, re-produw thedoo.mienOli
    question and produce a designee testify about them,Mattel anticiptes fibs motia              D
    compel.and for s.anctiom.
    Finally, plea& be advised that we recently received fhe t m n d p t of deposition of MQI iong
    Kong's && 30&)(6) designee. He was unprepared to address many Topics on which 1 wns
    d e s i w d , and MGA Hmg Kong's counsel gave numerow improper inshuctionsnot i m e t
    and oth~wiscengaged in improper speaking objections and obstnrcted the deposition. x was
    Mattel afforded an adequate amount of .time to fairly w      e him, particularly given tl a
    translator pras nwessary md given ihe rmmber &Topics the witness was designated or we will
    send you a separate meet and confer letter addressing these issoes in more detail. How tr,.
    since I also know tl18t you wished to hear firm ki on matters that we ansidered to be I rrities
    iq discovery and because the cotqdeti~bof this deposition is among them, I thought WI fould
    alter you to this issue now.

    I look fornard to discussing,thesematters with you.

    very M Y Yours,
    ~ni.d-cw
    w:     John Keker, Esq.hchae1 Page, Esq. (by mail)
           Mark Overland, E s q . / A l i Cole, Esq.
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                                EXHIBIT 9
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                                  #:7652




                        ARPS, SLATE,MEAGHE' & FLOM
                'SK'ADDEW,                       LLP.
                                    5 2 5 UNIVERS.ITY AVENUE
                                                                                        f
                                P A L 0 ALTO. CALIFORNIA 9430 1




                                                    December 5,2007

       Bv Email and US. Mall
       B. Dylan Ptoctor, Esq.
       QyimEmanqel Urqubart Oliver & Hedges, LLP
       865 S. Figueroa St, 10th F l i r
       Los Angeles, CA 90017

                      RE: Carter Bvant v. Matte!, Inc. Case No. (N04-9049 SGL (R
                             jmnsolidated with Cases Nos. (TV 04-69059 and CV 05-02


               I w i t e .to summarize our meet-and-wnfii tqlephone conference of yes
       morning with respect.to Mattel's assertion in Mike Ze11er's Octoba 29,2007, k
       Toin Nolan that 'MOA imprciperiy assated privilege on the basis o f attomej
       p w c t over a fax wversbeet and faxed drwvings" (the 'Docyments") sent from
       NeWquist, apatenf illustiator, to Alan Rose, Esq, a tom^ oufside cornsel for
       As you how, MGA previousiy inad~ertentl~produced         those.dments then req
       that.they be retrrmed prrtsmt tb the p r o w e order in this case.
               We explained that MI. Zelter!~letter appears to suggest that MGA has a!
        only work product protectibn .as to the Domenis. We infmmed you, howwf
        MGA has assated, and c . o n to~ asser(, bgth attomey-client privilege and
        praduct protection o v a the Documents (and,in fact, did so on the record in Vol
        of Bryan Armstrong's ddeposition). You responded that Mattel's position is 11
        Documents ate not entitled to either such pmtedioa In suppit of this positio
        r d d m toMattel's arguments in its pending motion regarding "first use docuc
        You alsostated p w belief:that drawings m i b e privileged.
               We disagreed and explained that the Documents are protected from disc
        under the attomey-climt privilege and work product d h e . F     irst,we explain
        the Documents were part of wd reflecl a series of confidential commuqications bc
        MOA, its CQLIDW~, and its patent illuahtor, as part of the dialectical process by
        MGA drafted and shaped its patent for Doll With changeable Footwear and in
        MGA sought the legal advice and s e r v i a ofMr. Rose. As a result, the Docume
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      presumptively protected by the attorney-client privilege. We further explained 1 to
      overcome that prernnnptioq Mattel would have to make a v a y wmpelling showi~ hat
      despite the pmumption of ~onfidentiality,it war k#endedthat the Documents wo be
      disclosed w i t h u t editing to the Umted States Patent and Trademark Office. Ne
      explained that Mattel Fqslld not make that &owing because there are sign ant
      substantive differences between the illustratibns in the Doamenis (which are AY
      drafts of the drawings tbat wcre wed to illashate the claims in MGA1s Doll 'ith
      Changeable Footwear patent application) and those inoluded in the final appli ion
      submitted to the USPTO.
              We alno explainedtharthe Documents are protected hmdisclosme by tht 3rk
      product doctrine bemuse they were prepared as part of the patent application p :'s.
      We stated that GO-          have recognized the adversarial dimension of the         ent
      appliwtion process, whereby an application is subject lu a potentially multi- ;ed
      process af submissions, rejeciious with ~mmmtary,and re-submissions, UI an
      application succeeds. This prncess often results in - and did result in here - the n ion
      of protaded work product
              We explai,ned to you that our positions are supported by the foll ing
      authorities, iVnong others.. Conher Periph@&, Inc. v. W. DlgW Cop., 1199: I.S.
      Dist. LEXIS 20149 (N.D. Cal. 1.993);SmueLF v: Mitchefl, 155 F.KD. 195 (N.1 :a].
       l994);and Advanced CardiovascubSys.. Inc. Y. C.R Bard, Iw., 144 F.R.D. 372 .D.
      Cal. 1992). You.thenidentSed some of the authDritiea on whiqh you rely,




                                                                                    i
              We a@ to review and consider eacb oth&s:autherities-aod to talk again 'ICB
      we had done so. We dm agreed that notwithstahtfiug shy fitrther 'meet-and-w lfer
      discussiods regarding fhis matter, you would let me know of your htent to file am.ion
      to compel befm doing so. We lookforward to continued discassion on this matter.




       ce:   'NelswRichards,.Esq.




                                                                                      I




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                         ARPS, SLATE, MEAGHER & FLOM LLP
                  SKADDEN,
                                    525-UNIVERSIM AVENUE
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                                 PAL0 ALTU. CRLlFORNlA S430 1

                                         m.16SOi 4704500
                                         FAX: 1960)4 7 ~ 4 5 7 0
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                                                    December 5,2007

        Bv.Emailand U.S.Mad

        B. Dyhn Proflor, Egq.
        Quinn Emmael Uquhart Oliver & Hedges, LLP
        865 S. F i g m a St, 10th Floor
        h Angeles, CA 90017
                        RE: Cmter B g m f v. Matrel, Inc. CmNo. CY 04-9049 SGL (R
                            [~nsolidatedwith Cases Nos. CV 04.09059 and CV.05-02


               I write t~ summarize ow follow up meel-and-confe discussion this aft1
        regarding the Documents referenced in my letter of this moming.
               YDU Sated that you had reviewed the a ~ i n i t l e swe identifid yes
        concluded that they are not wntrollii and : h t you therefore h,ad not chanp
        ~w that the Documents &re not privileged or protected work product.
               We stated that we had addonsidered your authorities and concluded that we
        be willing to produce the fax         sheec, but that we remein of the view tl
        remainder of the Docments are protected 6om disclosure for the reasons dis
        yesterday.
               We agreed that, given our direring views, this is a matter thal we wo
        unable to resolve ourselves. You stated, therefore, that pat W d d be filinga mo
        compel pzoduction of the Documents. which you would Wrely do before D-i
        and thst you would note in your papers MQA's w i l h q m s to produce the fax
        sheet.




        cc:      Nelson Richards, Esq.
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                                  #:7656




                              EXHIBIT 1 I
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